Case 2:05-cr-20251-SH|\/| Document 14 Filed 07/13/05 Page 1 of 2 Page|D 24

 

 

 

IN THE UNITED STATES DISTRICT coURT F‘LHD B‘f' AP< o.e.
FoR THE WESTERN ois'nucr oF TENNESSEE
WEsTERN DIVISION 05 JUL l 3 PH IZ= 5 1
.:;'»¥f_JLD
UNITED sTATEs oF AMERICA ,' ,¢ ,`1$€{1-’__"‘~`] H} 5
v. 05-20251-03-Ma
GINA BELL
oRDER oN ARRAIGNMENT

 

,.
This cause came to be heard on %1,(,£¢;) / 31 62 d 0 \) , the United States Attorney

for this district appeared on behalf of the @i/emn{[nt, and the defendant appeared in person and with
counsel:

NAME M JFI'& C/:FD who is Retained/Appointed.
/ ‘~ "_'”‘

The defendant, through counsel, Waived formal arraignment and entered a plea of not guilty.

All motions shall be filed Within thirty (3 0) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended

/ The defendant, Who is not in custody, may stand on his present bond.
The defendant, (not having made bond) (being a state prisoner) (being a federal prisoner)
(being held without bond pursuant to BRA of 1984), is remanded to the custody of the U.S. Marshal.

/@¢ML¢ /C ZM///

UNITED STATES MAGISTRATE JUDGE

 

CHARGES: 18:1343 & 2;

U. S. Attorney assigned to Case: C. McMullen

Age: _2 b

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with sale 55 andrew sam crach on _l'.l§_’.aé.
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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 14 in
case 2:05-CR-20251 Was distributed by faX, mail, or direct printing on
July 15, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

